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 7
                            IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9 John J. Hurry, et al.,                     Case No. 2:14-cv-02490-PHX-ROS
10                               Plaintiffs,              CERTIFICATE OF COUNSEL
11   v.                                                   Assigned to the Honorable Roslyn O. Silver
12   Financial Industry Regulatory Authority
     Incorporated, et al.,
13
                                 Defendants.
14
           TAYLOR C. YOUNG hereby certifies as follows:
15
16         1.        As required by LRCiv 83.3(b)(2), I submit this certificate in support of the
17 accompanying Motion for Leave to Withdraw.
18         2.        Plaintiffs have been notified in writing of the status of the case including the dates and
19 times of any court hearings or trial settings, pending compliance with any existing court orders and the
20 possibility of sanctions.
21
           I hereby certify under penalty of perjury that the foregoing statements are true and correct.
22
           EXECUTED this 29th day of August 2016
23
                                                           /s/ Taylor C. Young
24
                                                          Taylor C. Young
25
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